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        1                                                                                                  JL

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        6                        IN THE UNITED STATES DISTRICT COURT
        7                              FOR THE DISTRICT OF ARIZONA
        8
        9    Teresa Rico,                                       No.    CV-23-00853-PHX-GMS (MTM)
       10                          Plaintiff,
       11    v.                                                 ORDER
       12    Maricopa County Prosecutor’s Office,
       13                          Defendant.
       14
       15            On May 15, 2023, Plaintiff Teresa Rico, who is not in custody, filed a pro se
       16   document, which the Clerk of Court docketed as a civil rights Complaint pursuant to 42
       17   U.S.C. § 1983 to facilitate its consideration, and an Application to Proceed In District Court
       18   without Prepaying Fees or Costs (Doc. 2).
       19   I.       Application to Proceed In District Court without Prepaying Fees or Costs
       20            Plaintiff has used the court-approved form for filing an Application to Proceed In
       21   District Court without Prepaying Fees or Costs, but the Application is incomplete, and the
       22   information Plaintiff has provided is contradictory. For example, Plaintiff represents that
       23   she has had no income in the last 12 months but also states that she was employed as
       24   recently as November 2022. In addition, Plaintiff indicates that she has no expenses, such
       25   as rent, utilities, food, etc. In light of these deficiencies, the Court will deny the Application
       26   to Proceed and will give Plaintiff 30 days to either pay the $402.00 filing and administrative
       27   fees or file a complete Application to Proceed In District Court without Prepaying Fees or
       28   Costs.


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        1   II.       Warnings
        2             A.     Address Changes
        3             Plaintiff must file and serve a notice of a change of address in accordance with Rule
        4   83.3(d) of the Local Rules of Civil Procedure. Plaintiff must not include a motion for other
        5   relief with a notice of change of address. Failure to comply may result in dismissal of this
        6   action.
        7             B.     Possible Dismissal
        8             If Plaintiff fails to timely comply with every provision of this Order, including these
        9   warnings, the Court may dismiss this action without further notice. See Ferdik v. Bonzelet,
       10   963 F.2d 1258, 1260-61 (9th Cir. 1992) (a district court may dismiss an action for failure
       11   to comply with any order of the Court).
       12             IT IS ORDERED:
       13             (1)    Plaintiff’s Application to Proceed In District Court without Prepaying Fees
       14   or Costs (Doc. 2) is denied without prejudice.
       15             (2)    Within 30 days of the date this Order is filed, Plaintiff must either pay the
       16   $350.00 filing fee and $52.00 administrative fee or file a complete Application to Proceed
       17   In District Court without Prepaying Fees or Costs.
       18             (3)    If Plaintiff fails to either pay the $350.00 filing fee and $52.00 administrative
       19   fee or file a complete Application to Proceed In District Court without Prepaying Fees or
       20   Costs within 30 days, the Clerk of Court must enter a judgment of dismissal of this action
       21   without prejudice and without further notice to Plaintiff and deny any pending unrelated
       22   motions as moot.
       23   ....
       24   ....
       25   ....
       26   ....
       27   ....
       28   ....


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        1         (4)    The Clerk of Court must mail Plaintiff a court-approved form for filing an
        2   Application to Proceed In District Court without Prepaying Fees or Costs.
        3         Dated this 5th day of June, 2023.
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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District of __________

                                                                              )
                         Plaintiff/Petitioner                                 )
                                  v.                                          )        Civil Action No.
                                                                              )
                       Defendant/Respondent                                   )

        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Long Form)


 Affidavit in Support of the Application                                     Instructions

 I am a plaintiff or petitioner in this case and declare                     Complete all questions in this application and then sign it.
 that I am unable to pay the costs of these proceedings                      Do not leave any blanks: if the answer to a question is “0,”
 and that I am entitled to the relief requested. I declare                   “none,” or “not applicable (N/A),” write that response. If
 under penalty of perjury that the information below is                      you need more space to answer a question or to explain your
 true and understand that a false statement may result in                    answer, attach a separate sheet of paper identified with your
 a dismissal of my claims.                                                   name, your case's docket number, and the question number.

 Signed:                                                                     Date:


1.        For both you and your spouse estimate the average amount of money received from each of the following
          sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
          semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
          for taxes or otherwise.
                      Income source                                    Average monthly income                  Income amount expected
                                                                       amount during the past 12                     next month
                                                                               months
                                                                         You            Spouse                   You            Spouse
Employment
                                                                  $                       $                $                $
Self-employment
                                                                  $                       $                $                $
Income from real property (such as rental income)
                                                                  $                       $                $                $
Interest and dividends
                                                                  $                       $                $                $
Gifts
                                                                  $                       $                $                $
Alimony
                                                                  $                       $                $                $
Child support
                                                                  $                       $                $                $
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Retirement (such as social security, pensions, annuities,
                                                                  $                       $                    $               $
insurance)
Disability (such as social security, insurance payments)
                                                                  $                       $                    $               $
Unemployment payments
                                                                  $                       $                    $               $
Public-assistance (such as welfare)
                                                                  $                       $                    $               $
Other (specify):
                                                                  $                       $                    $               $

                                                                  $                0.00 $                  0.00 $        0.00 $         0.00
                                 Total monthly income:

2.        List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
          other deductions.)

Employer                             Address                                                       Dates of employment           Gross
                                                                                                                               monthly pay
                                                                                                                               $

                                                                                                                               $

3.        List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
          taxes or other deductions.)

Employer                             Address                                                       Dates of employment           Gross
                                                                                                                               monthly pay
                                                                                                                               $

                                                                                                                               $

                                                                                                                               $

4.        How much cash do you and your spouse have? $
          Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution                           Type of account                                    Amount you have            Amount your
                                                                                                                               spouse has
                                                                                          $                               $

                                                                                          $                               $

                                                                                          $                               $

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings.
                                                      Assets owned by you or your spouse

Home (Value)                                                                                                  $
Other real estate (Value)
                                                                                                              $

Motor vehicle #1 (Value)                                                                                      $

                  Make and year:

                  Model:

                  Registration #:

Motor vehicle #2 (Value)                                                                                      $

                  Make and year:

                  Model:

                  Registration #:

Other assets (Value)                                                                                          $

Other assets (Value)                                                                                          $

6.        State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse                           Amount owed to you                               Amount owed to your spouse
money
                                               $                                                   $

                                               $                                                   $

                                               $                                                   $

7.        State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only)                                        Relationship                                       Age
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8.        Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
          spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
          monthly rate.
                                                                                                               You       Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)
        Are real estate taxes included? ’ Yes ’ No                                                         $         $
        Is property insurance included? ’ Yes ’ No
Utilities (electricity, heating fuel, water, sewer, and telephone)                                         $         $

Home maintenance (repairs and upkeep)                                                                      $         $

Food                                                                                                       $         $

Clothing                                                                                                   $         $

Laundry and dry-cleaning                                                                                   $         $

Medical and dental expenses                                                                                $         $

Transportation (not including motor vehicle payments)                                                      $         $

Recreation, entertainment, newspapers, magazines, etc.                                                     $         $

Insurance (not deducted from wages or included in mortgage payments)

          Homeowner's or renter's:                                                                         $         $

          Life:                                                                                            $         $

          Health:                                                                                          $         $

          Motor vehicle:                                                                                   $         $

          Other:                                                                                           $         $
Taxes (not deducted from wages or included in mortgage payments) (specify):
                                                                                                           $         $

Installment payments

          Motor vehicle:                                                                                   $         $

          Credit card (name):                                                                              $         $

          Department store (name):                                                                         $         $

          Other:                                                                                           $         $

Alimony, maintenance, and support paid to others                                                           $         $
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Regular expenses for operation of business, profession, or farm (attach detailed                           $       $
statement)

Other (specify):                                                                                           $       $

                                                                                                           $   0.00 $           0.00
                                                                       Total monthly expenses:

9.        Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
          next 12 months?
          ’ Yes          ’ No             If yes, describe on an attached sheet.

10.       Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this
          lawsuit? ’ Yes ’ No
          If yes, how much? $

11.       Provide any other information that will help explain why you cannot pay the costs of these proceedings.




12.       Identify the city and state of your legal residence.



          Your daytime phone number:
          Your age:                    Your years of schooling:




         Print                        Save As...                  Add Attachment                                        Reset
